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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA             :      Hon. Leda Dunn Wettre

       v.                            $      Mag. No. 16-8049

ANTHONY GAINES,                      :      CRIMINAL COMPLAINT
     a/k/a “Monte,”
ROBERT ARELLANO,
TIFFANY BURT,
PEDRO CUELLAR,
JUSTIN LOVE,
     a/k/a “Jay,”
FRANK NICHOLS, and
DAJWAN WARE,
     a/k/a “Juan”

              I, the undersigned complainant, being duly sworn, state that the
following is true and correct to the best of my knowledge and belief:

                             SEE ATTACHMENT A

            I further state that I am a Special Agent with the United States
Department of Agriculture, Office of Inspector General, and that this complaint
is based on the following facts:

                            SEE ATTACHMENT B

continued on the attached page and made a part ther


                                         Anthony uffir i, Speci     gent
                                         U.S. Depa tm it of Agriculture
                                         Office of Inspector General



Sworn to before me and subscribed
in my presence, May 272016 in
Newark, New Jersey

HONORABLE LEDA DUNN WERE
UNITED STATES MAGISTRATE JUDGE           ‘gnature of Judicial Officer
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                               ATTACHMENT A

                                Count One
               (Conspiracy to Violate the Animal Welfare Act)

      From in or around December 2014 through in or around November 2015,
in Essex and Gloucester Counties, in the District of New Jersey, and elsewhere,
defendants

                               ANTHONY GAINES,
                                 a/k/a “Monte,”

                              ROBERT ARELLANO,

                                       and

                                 JUSTIN LOVE,
                                  a/k/a “Jay,”

and others, did knowingly and intentionally conspire and agree to violate the
Animal Welfare Act by transporting, delivering, buying, selling, receiving and
possessing a dog for the purpose of having the dog participate in an animal
fighting venture, namely, an event in and affecting interstate and foreign
commerce, that involved a fight conducted between at least two animals for
purposes of sport, wagering and entertainment, contrary to Title 7, United
States Code, Section 2156(b), and did an act to effect the object of the
conspiracy.

      In violation of Title 18, United States Code, Section 371,




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                                Count Two
 (Possession of an Animal for Participation in an Animal Fighting Venture)

      In or around November 2015, in Gloucester County, in the District of New
Jersey, and elsewhere, defendant

                              ANTHONY GAINES,
                                a/k/a “Monte,”

knowingly possessed a dog for purposes of having the dog participate in an
animal fighting venture, namely, an event, in and affecting interstate and
foreign commerce, that involved a fight conducted or to be conducted between
at least two animals for purposes of sport, wagering, and entertainment, in
violation of Title 7, United States Code, Section 2156 and Title 18, United States
Code Section 49; and Title 18, United States Code, Section 2.




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                               Count Three
 (Possession of an Animal for Participation in an Animal Fighting Venture)

      In or around April 2016, in Gloucester County, in the District of New
Jersey, and elsewhere, defendant

                                 JUSTIN LOVE,
                                  a/k/a “Jay,”

knowingly possessed a dog for purposes of having the dog participate in an
animal fighting venture, namely, an event, in and affecting interstate and
foreign commerce, that involved a fight conducted or to be conducted between
at least two animals for purposes of sport, wagering, and entertainment, in
violation of Title 7, United States Code, Section 2156 and Title 18, United States
Code Section 49; and Title 18, United States Code, Section 2.




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                                  Count Four
                            (Delivery of an Animal
              for Participation in an Animal Fighting Venture)

      On or about December 16, 2014, in Essex County, in the District of New
Jersey, and elsewhere, defendant

                              ROBERT ARELLANO,

knowingly delivered a dog for purposes of having the dog participate in an
animal fighting venture, namely, an event, in and affecting interstate and
foreign commerce, that involved a fight conducted or to be conducted between
at least two animals for purposes of sport, wagering, and entertainment, in
violation of Title 7, United States Code, Section 2156 and Title 18, United States
Code Section 49; and Title 18, United States Code, Section 2.




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                                Count Five
               (Conspiracy to Violate the Animal Welfare Act)

     From in or around October 2015 through in or around November 2015, in
Gloucester County, in the District of New Jersey, and elsewhere, defendants

                               ANTHONY GAINES,
                                 a/k/a “Monte,”

                                FRANK NICHOLS,

                              TIFFANY BURT, and

                                DAJWAN WARE,
                                 a/k/a “Juan,”

and others, did knowingly and intentionally conspire and agree to violate the
Animal Welfare Act by transporting, delivering, buying, selling, receiving and
possessing a dog for purposes of having the dog participate in an animal
fighting venture, namely, an event, in and affecting interstate and foreign
commerce, that involved a fight conducted between at least two animals for
purposes of sport, wagering and entertainment, contrary to Title 7, United
States Code, Section 2156(b), and did an act to effect the object of the
conspiracy.

      In violation of Title 18, United States Code, Section 371.




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                                 Count Six
  (Transport of an Animal for Participation in an Animal Fighting Venture)

      From on or about October 30, 2015 through on or about October 31,
2015, in Gloucester County, in the District of New Jersey, and elsewhere,
defendant

                               ANTHONY GAINES,
                                 a/k/a “Monte,”

knowingly transported a dog for purposes of having the dog participate in an
animal fighting venture, namely, an event, in and affecting interstate and
foreign commerce, that involved a fight conducted or to be conducted between
at least two animals for purposes of sport, wagering, and entertainment, in
violation of Title 7, United States Code, Section 2156 and Title 18, United States
Code Section 49; and Title 18, United States Code, Section 2.




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                               Count Seven
               (Conspiracy to Violate the Animal Welfare Act)

     From in or around October 2015 through in or around November 2015, in
Gloucester County, in the District of New Jersey, and elsewhere, defendants

                               ANTHONY GAINES,
                                 a/k/a “Monte,”

                                FRANK NICHOLS,

                              TIFFANY BURT, and

                               PEDRO CUELLAR,

and others, did knowingly and intentionally conspire and agree to violate the
Animal Welfare Act by transporting, delivering, buying, selling, receiving and
possessing dogs for purposes of having the dogs participate in an animal
fighting venture, namely, an event, in and affecting interstate and foreign
commerce, that involved a fight conducted between at least two animals for
purposes of sport, wagering and entertainment, contrary to Title 7, United
States Code, Section 2 156(b), and did an act to effect the object of the
conspiracy.

      In violation of Title 1$, United States Code, Section 371.




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                                 ATTACHMENT B

       I, Anthony Ruffini, am a Special Agent with the United States Department
of Agriculture, Office of Inspector General. I have knowledge of the facts set
forth herein based on my personal participation in this investigation, my
conversations with other members of law enforcement and my review of oral
and written reports from other law enforcement officers, and my training and
experience investigating dog fighting ventures. Where statements of others are
set forth herein, including statements that were intercepted, these statements
are related in substance and in part. Because Attachment B is being submitted
for the limited purpose of establishing probable cause, I have not set forth each
and every fact that I have learned during the course of the investigation.

I.      THE DEFENDANTS

        At all times relevant to this complaint, unless otherwise indicated:

      1.      Defendant ANTHONY GAINES was a resident of Vineland, New
Jersey.

     2.     Defendant ROBERT ARELLANO was a resident of Albuquerque,
New Mexico.

         3.    Defendant JUSTIN LOVE was a resident of Westville, New Jersey.

         4.    Defendant FRANK NICHOLS was a resident of Millville, New Jersey.

         5.    Defendant DAJWAN WARE was a resident of Fort Wayne, Indiana.

        6.     Defendant PEDRO CUELLAR was a resident of Willow Springs,
Illinois.

      7.    Defendant TIFFANY BURT was a resident of Vineland, New Jersey,
and lived with defendant ANTHONY GAINES.

II.      OVERVIEW OF DOG FIGHTING

       8.    Dog fighting typically involves pit bull-type dogs that are released
by their owners or handlers in a controlled environment to attack each other
and fight. The fight ends when one dog withdraws, when a handler “picks up”
its dog and forfeits the match, or when one or both dogs die.

      9.     Prior to a dog fight, dog owners or handlers may enter into an
agreement with their opponent, often referred to as a “match,” “fight,” or “show.”
The owners or handlers may agree upon: (1) the sex and set weight of the dogs
at the time of the fight; (2) the geographic area in which the fight will occur (the
exact location of which is often a secret until shortly before the fight); (3) a

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referee; (4) the payment of “forfeit” money that is lost if one participant pulls out
of the match or if a participant’s dog does not arrive at the agreed-upon weight;
and (5) monetary wagers placed by the respective fighters.

      10.   Dogs used in animal fighting ventures are housed separately from
other dogs, in pens, cages, or on chains, so that they will not hurt or kill other
dogs when the handler is absent. Heavy chains are often used when restraining
dogs to develop neck strength in dogs used for fighting purposes.

       11.    Dog fighters often take steps to house fighting dogs away from
public view, such as placing them inside sheds, garages, or barns, or by
erecting tall opaque fences around areas where fighting dogs are housed.

      12.   “Champion” or “Grand Champion” status refers to a dog who has
won three or five fights, respectively.

       13.   Dog fighters may keep multiple dogs at a time in order to maintain
a stock of dogs at different weights and both sexes for dogs to be matched for a
fight according to weight and sex; to selectively breed, sell, and fight dogs
displaying certain traits or to otherwise advance a particular dog fighting
bloodline; and to have a sufficient number of dogs to fight dogs more than two
to three times a year.

       14.  Finding an opponent who has a dog of the same weight and sex and
who is looking to fight that dog at the same time of the year is known as “calling
out a weight.” Dog fighters often “call out a weight,” by telephone, text, or e
mail, to known dog fighters in several states to increase their odds of finding a
match.

       15.   Once a dog fighter locates an opponent and agrees upon terms, the
match is “hooked” or set up. The dog then typically undergoes a conditioning
process dog handlers refer to as a “keep.” This “keep” may involve treadmills to
run and exercise the dogs away from public view; weight pulls to increase the
dog’s strength and stamina; “spring poles” and “flirt poles” to build jaw strength
and increase aggression; and the administration of drugs (such as steroids),
vitamins, and other medicine. Animal pelts are also common for dog fighters to
use to excite and bait dogs during dog fighting training sessions.

       16.  Dogs matched for future fights are expected to achieve their
established target weight by the scheduled match, much like in human boxing
matches.

       17.   Dog fighters often attempt to mend the injuries of their own dogs,
rather than seek veterinary attention, which might raise suspicion regarding the
cause of their dogs’ injuries. Dog fighters also use veterinary supplements and
pharmaceuticals to enhance fighting dogs’ stamina and to keep injured dogs
fighting longer.

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III.   SUMMARY OF INVESTIGATION

       A. Interception of Wire Communications

       18.   From in or around October 2015 through in or around November
2015, law enforcement officers lawfully intercepted telephone conversations
occurring over a cellular telephone used by defendant ANTHONY GAINES
(hereinafter, the “Target Facility”). As set forth in Paragraphs 19-28, 51, 54-57,
6 1-63, 68, and 69 below, the lawfully intercepted conversations included calls
between defendant ANTHONY GAINES and others in which, among other
things, dog fights, breeding of dogs for dog fights, and treating dogs injured
during dog fights were discussed. A sample of these calls is described below, in
sum and substance. Not all intercepted calls pertaining to dog fighting are
summarized herein.

       19.  On or about October 9, 2015, defendant ANTHONY GAINES
received an incoming call from an individual (“Associate 1”) over the Target
Facility. During this lawfully intercepted conversation, defendant ANTHONY
GAINES told Associate 1 that a dog named “Doublecross” had “shredded the
dog’s face super bad   .   I ain’t never seen no shit like that before where he
                           .   .



popped the mother fucker’s neck. Like he popped his neck. Like it just sounded
like, you know, how a ball, like the air such out of a ball
     That mother fucker [wasJ as stiff as a doorknob.”

      20.    On or about October 9, 2015, defendant ANTHONY GAINES
received an incoming call from defendant JUSTIN LOVE over the Target Facility.
During this lawfully intercepted conversation, defendant JUSTIN LOVE told
defendant ANTHONY GAINES that his dog “Momba” was having puppies and
that “out of two champion dogs having puppies I should really get at least one
fucking champion out of that mother fucker.”

      21.    On or about October 10, 2015, defendant ANTHONY GAINES placed
an outgoing call to defendant FRANK NICHOLS over the Target Facility. During
this lawfully intercepted conversation, defendant ANTHONY GAINES told
defendant FRANK NICHOLS that he and defendant JUSTIN LOVE had jointly
fought “Momba” three years prior and that “every dog she [“Momba’s”] been on,
she killed.”

      22.   On or about October 10, 2015, defendant ANTHONY GAINES
received an incoming call from defendant JUSTIN LOVE. During this lawfully
intercepted conversation, defendant JUSTIN LOVE stated that his dog “Momba”
had puppies the day prior. Defendant JUSTIN LOVE stated that he planned for
the puppies to be “killers” by the time they are “two and a half’ years old and
that he planned to put them in “roll” fights by the time they are two years old.




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      23.   On or about October 12, 2015, defendant ANTHONY GAINES
received an incoming call from defendant JUSTIN LOVE. During this lawfully
intercepted conversation, Defendant JUSTIN LOVE stated that “Momba’s”
puppies “will be killers.   I can’t wait to get the motherfuckers done.” I know
                            .   .



from this investigation and from my investigation of animal fighting activities
generally that the phrase “getting [a dog] done” refers to fighting the dog.

       24.  On or about October 14, 2015, defendant ANTHONY GAINES
received an incoming call from defendant JUSTIN LOVE over the Target Facility.
During this lawfully intercepted conversation, defendant JUSTIN LOVE told
defendant ANTHONY GAINES that he had arranged for a person “to do a class
for us” about how to administer intravenous drug to dogs. Defendant JUSTIN
LOVE also stated, “he’s going to teach us how to IV dogs, how to hit veins, how
to do everything, in eight hours. All we got, we got to pay him and we got to
bring a dog each to work on.” Defendant ANTHONY GAINES replied that he
already knew how to do that and that “I’m the last person that IV’d that
motherfucking what’s his name dog, the one that I beat with Doublecross, I IV’d
him this last time.”

       25.  On or about October 17, 2015, defendant ANTHONY GAINES
received an incoming call from defendant DAJWAN WARE over the Target
Facility. During this lawfully intercepted conversation, defendant ANTHONY
GAINES stated that he “put some motherfuckin’ teeth in that Pool Hall bitch
when she was fuckin’ eight months, but I knew     .   not to do her to the point
                                                      .   .



where she would break.” Defendant ANTHONY GAINES also stated that “the
last time I put her [dog referred to as “Pool Hall bitch”] on “Fancy,” it took
“Fancy” ‘bout I wanna say three, four minutes to get her out her fuckin’ throat.”
Defendant ANTHONY GAINES referred to the “Pool Hall bitch” as “Vida”
(phonetic).

     26.    On or about October 19, 2015, defendant ANTHONY GAINES placed
an outgoing call to defendant ROBERT ARELLANO over the Target Facility.
During this lawfully intercepted conversation:

            •   Defendant ROBERT ARELLANO described a dog fight at which
                he was present and how the winning dog fought despite being ill
                and “had the fucking shits in the fucking pit.  I thought, man,
                                                                    .   .



                this fucking dog’s sick.” “He won, but we couldn’t save him       .



                we lost the dog probably within 15 minutes after the match. He
                fucking couldn’t respond.”

            •   Defendant ROBERT ARELLANO                 told   defendant ANTHONY
                GAINES    that towards the                end     of  a   dog  fight:

                It’s getting colder, and colder, and colder as the night goes. And
                they’re fucking laying there, you know. And mine can’t even

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                stand up really. And theirs is just beat down. And I just said,
                ‘hey, you know what,’ I said, ‘you want to call a draw?’ He said
                ‘no, my fucking dog is probably gone.’ I said ‘okay, VU call a
                draw’  .   .But I thought this dog can still win some. He was
                               .



                fairly young.    when I took the match. He says, ‘your dog going
                                   .   .



                to make it?’ I said, ‘I don’t know.  it’s hard to get an IV in him
                                                                    .       .



                right now.’ But, I said, ‘he’s looking around, I just can’t stand
                him up though.’ And, he said, ‘yeah, we just lost ours.’

       27.   On or about October 26, 2015, defendant ANTHONY GAINES
received an incoming call from defendant PEDRO CUELLAR over the Target
Facility. During this lawfully intercepted conversation, defendant ANTHONY
GAINES stated that “Bubbles” was three and a half years old and that he
intended to fight her after he fought two other dogs. During this same
conversation, defendant ANTHONY GAINES told defendant PEDRO CUELLAR
that “Bubbles” was “just so fucking fight crazy.      she just fucking demolished
                                                            .   .       .



this dog, all right. Ain’t no dog could keep up with her.        she got so much .   .   .



offense that defense is her offense.    She will swallow your dog.”
                                           .   .   .




       28.    On or about October 30, 2015, defendant ANTHONY GAINES
received an incoming call from defendant TIFFANY BURT over the Target
Facility. During this lawfully intercepted conversation, defendant ANTHONY
GAINES and defendant TIFFANY BURT discussed the installation of a pole barn
at their residence.’

        B.   Search of Defendant ANTHONY                                    GAINES’s         and   Defendant
             TIFFANY BURT’s Residence

      29.   On or about November 19, 2015, law enforcement officers executed
a search  warrant at a residence in Vineland, New Jersey, where defendants
ANTHONY GAINES and TIFFANY BURT resided (hereinafter, the “Vineland
Residence”), and which defendant TIFFANY BURT owned.

       30.    During that search of the Vineland Residence, law enforcement
officers seized six live pit bull-type dogs, including two puppies and four adult
dogs that were housed individually in stacked dog shipping crates, in an
unfinished basement of the residence.




1
 On or about October 17, 2015, during a lawfully intercepted call between
defendant ANTHONY GAINES and another individual (“Associate 2”), defendant
ANTHONY GAINES described his plans to build a soundproof pole barn to
house his fighting dogs so that the dogs could not be seen or heard from beyond
his residence.


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      31.   During the search of the Vineland Residence, defendant TIFFANY
BURT admitted to law enforcement that she had seen the dogs in the basement
and had rented a car for defendant ANTHONY GAINES to transport some of his
dogs to Indiana and Illinois.

      32.   The four adult dogs that were seized had scarring, extreme
musculature, and displayed aggression toward other dogs and behavior traits
consistent with physical abuse, including but not limited to, fearful and
aggressive responses.

      33.    During the search, law enforcement officers also seized a wooden
treadmill-like device. The device was approximately six feet long with a rotating
track that appeared to be covered with carpet. The low side walls of the
treadmill were made of wood, and there was a clip at the front of the treadmill
that matched the style of a clip used to fasten to a dog’s collar, at the height of a
dog collar.

      34.  In the immediate vicinity of the            treadmill-like   device,   law
enforcement officers found an animal pelt.

       35.   In the immediate vicinity of the treadmill-like device and animal
pelt, law enforcement officers also seized weighted collars and a “flirt pole,” both
of which are often used to train dogs for fighting.

      36.  Near where the dogs were found, law enforcement officers also
found syringes, medication vials, intravenous fluid bags and lines, surgical
instruments, a skin stapler, bandages, and veterinary medications and
supplements in the basement of the Vineland Residence.       Several of the
medications and instruments identified manufacturers located outside of New
Jersey.

      C.     On-Line Fighting Dog Registry

      37.    During the course of the investigation, law enforcement officers
reviewed a website, located at http://www.apbt.online-pedigrees.com, known as
“Peds Online,” where dog fighters post dog pedigrees. These dog pedigrees
contained information for individuals who fight dogs to prove to others the
lineage of their dogs or dogs they are fighting against or considering breeding to
or buying. The pedigree also contained an indicator of how many fights the dog
has won, whether the dog is a “Champion” or a “Grand Champion,” the
breeding history of the dog going back four generations, and indicators of the
number of fights that dogs in their bloodline have won. There is also a field for
“Breeder” and “Owner.” Some pedigrees had pictures of the dogs.




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      38.  During the course of the investigation, law enforcement officers
located approximately 80 dog pedigrees from Peds Online that identified
defendant ROBERT ARELLANO as either the breeder of the dogs, the owner, or
both.

      39.   Eleven of those pedigrees identifying defendant ROBERT
ARELLANO as the breeder or owner contained photographs of dogs, and
scarring or injuries were visible in six of those photographs. A number of the
dogs were identified as a “2xW,” a “5xw,” a “CH” or a “GR CH,” which refer to
dogs having won multiple dog fights.

      40.    Peds Online also contained pedigrees that identified defendant
ROBERT ARELLANO as the owner, breeder, or both, of dogs from the “Pool Hall”
bloodline of fighting dogs and defendant JUSTIN LOVE as the breeder or owner
of twenty pedigreed fighting dogs.

      41.    Peds Online also contained a dog pedigree for a dog known as
“Doublecross” (a dog referred to by defendant ANTHONY GAINES during a
lawfully intercepted telephone conversation, as described above in paragraph
19). This pedigree identified “Doublecross” as a “lxW D.I.B.” I know from this
investigation and from my investigation of animal fighting activities generally
that “lxW” refers to winning at least one fight, and that “D.I.B.” means “dead in
the box,” which refers to a dog that killed the other dog in the fighting pit.

      42.   Peds Online also contained a dog pedigree for a dog known as “D’s
Bubbles.” “Bubbles” was the name of the dog that was transported from New
Jersey to defendant DAJWAN WARE in Indiana, as set forth below in Section
Five.

       43.  Furthermore, Peds Online contained a pedigree for a dog named
“Momba,” which shows “Momba’s” status as a “Champion” and lists “Jay
Love/Mont” as the breeder. The pedigree showed “Momba’s” breeding from
fighting dogs and describes her previous fights. The pedigree also contained a
photograph of a black dog with white spots bearing scars and wearing a
weighted collar and weighted vest.

      D.    Surveillance

      44.   On or about April 4, 2016, law enforcement officers conducted
surveillance of defendant JUSTIN LOVE’s residence, located in or around
Westville, New Jersey. They observed a black pit bull-type dog with a white
mark on the chest at the residence. Law enforcement officers also observed
multiple chain-link dog kennels (fence enclosed containment devices for dogs)
and heard multiple dogs at the residence.




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       45.   On or about April 4, 2016 and April 13, 2016, law enforcement
officers conducted surveillance of defendant DAJWAN WARE’s residence,
located in or around Fort Wayne, Indiana. They observed a light-colored pit
bull-type dog on a chain in the backyard of the residence, along with five chain-
link fence dog kennels.

      46.    In or around April 2016, law enforcement officers conducted
surveillance, including aerial surveillance, of defendant ROBERT ARELLANO’s
residence. Aerial surveillance showed an area on the residence with dog
kennels. Within this area, law enforcement officers observed nine small square
chain-link fence dog enclosures, each separated from the other. Dogs were seen
in four of the enclosures and dog houses were seen in another three of the
enclosures.

IV.   THE SALE AND SHIPMENT OF “VIDA” BY DEFENDANTS ANTHONY
      GAINES, ROBERT ARELLANO, AND JUSTIN LOVE

      47.   In or around December 2014, October 2015, and April 2016,
defendant ROBERT ARELLANO maintained a supply of dogs at his residence in
or near Albuquerque, New Mexico, for use in dog fighting by himself and others,
including a female dog from the “Pool Hall” bloodline of fighting dogs, named
“Vida.”

     48.   On or about December 16, 2014, defendant ANTHONY GAINES
purchased “Vida” from defendant ROBERT ARELLANO.

      49.   On or about December 16, 2014, defendant ROBERT ARELLANO
shipped two dogs, one of which was “Vida,” via air cargo from Albuquerque, New
Mexico, to Newark Liberty International Airport.

     50.  On or about December 16, 2014, defendants ANTHONY GAINES
and JUSTIN LOVE picked up “Vida” and the other dog shipped by defendant
ROBERT ARELLANO at Newark Liberty International Airport.

       51.   On or about October 19, 2015, defendant DAJWAN WARE placed
an outgoing call to ANTHONY GAINES on the Target Facility. During this
lawfully intercepted conversation, they discussed a dog that defendant DAJWAN
WARE was picking up from the airport in Indiana that day.            Defendant
ANTHONY GAINES asked defendant TIFFANY BURT, who was with him during
the call, whether she remembered “that time when I went up to the airport and
picked them dogs up2        Me and Justin?”

        52.    On or about November 19, 2015, during the search of the Vineland
Residence, law enforcement officers discovered “Vida” in a shipping crate in the
basement, in proximity to dog fighting paraphernalia such as weighted collars, a
flirt pole, veterinary and human medication, needles, IV bags, and scalpels.


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V.      THE TRANSPORT OF “BUBBLES” BY DEFENDANTS ANTHONY
        GAINES, TIFFANY BURT, AND FRANK NICHOLS TO DEFENDANT
        DAJWAN WARE IN INDIANA

      53.   From on or about October 7, 2015 through at least on or about
October 31, 2015, defendant ANTHONY GAINES maintained a supply of dogs in
or around the Vineland Residence, including a dog named “Bubbles.”

       54.  On or about October 7, 2015, defendant ANTHONY GAINES
received an incoming call from defendant DAJWAN WARE over the Target
Facility. During this lawfully intercepted conversation, defendants ANTHONY
GAINES and DAJWAN WARE agreed that 37 pounds would be a good weight at
which to fight “Bubbles” against a male dog in Chicago, Illinois. During the
intercepted conversation, defendants ANTHONY GAINES and DAJWAN WARE
also discussed placing wagers on “Bubbles” and whether side bets would be
allowed.

       55. On or about October 15, 2015, defendant ANTHONY GAINES
received an incoming call from defendant FRANK NICHOLS over the Target
Facility. During this lawfully intercepted conversation, defendant ANTHONY
GAINES offered to transport “Bubbles” to defendant FRANK NICHOLS for the
purpose of staging a roll fight between “Bubbles” and a dog maintained by
defendant FRANK NICHOLS. Defendant ANTHONY GAINES told defendant
FRANK NICHOLS that “Bubbles” would “swallow your dog.”

       56.   On or about October 27, 2015, after defendant ANTHONY GAINES
was notified by local animal cruelty law enforcement officers that they
suspected violations of state animal cruelty laws pertaining to his housing of
fighting dogs, defendant ANTHONY GAINES received an incoming call from
defendant DAJWAN WARE over the Target Facility.           During this lawfully
intercepted conversation, defendant ANTHONY        GAINES    asked defendant
DAJWAN WARE if he would take “Bubbles,” and defendant DAJWAN WARE
agreed to receive “Bubbles.”

       57.  On or about October 29, 2015, defendant ANTHONY GAINES
received an incoming call from defendant DAJWAN WARE over the Target
Facility. During this lawfully intercepted conversation, defendant DAJWAN
WARE told defendant ANTHONY GAINES that he could not wait to put
“Bubbles” in a “keep.”

      58.   On or about October 30, 2015, defendant TIFFANY BURT helped
transport “Bubbles” to defendant DAJWAN WARE by renting a car in Vineland,
New Jersey for defendant ANTHONY GAINES to transport “Bubbles” to Indiana,
and added defendant ANTHONY GAINES as a driver for the rented car.




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      59.    From on or about October 30, 2015 through on or about October
31, 2015, defendant ANTHONY GAINES drove with defendant FRANK NICHOLS,
in a car rented by defendant TIFFANY BURT, to in or around Fort Wayne,
Indiana, to deliver “Bubbles” to defendant DAJWAN WARE.

     60.    On or about October 31, 2015, defendant DAJWAN WARE received
“Bubbles” from defendants ANTHONY GAINES and FRANK NICHOLS in or
around Fort Wayne, Indiana.

       61. On or about November 8, 2015, defendant ANTHONY GAINES
received an incoming call from defendant DAJWAN WARE over the Target
Facility. During this lawfully intercepted conversation, defendant DAJWAN
WARE told defendant ANTHONY GAINES he was going to start “working”
“Bubbles.”

VI.   THE TRANSPORT OF “TOMMY” AND “SAMPSON” BY DEFENDANTS
      ANTHONY GAINES, FRANK NICHOLS, AND TIFFANY BURT TO
      DEFENDANT PEDRO CUELLAR IN ILLINOIS

       62.   On or about October 9, 2015, defendant ANTHONY GAINES
received an incoming call from an individual (“Associate 3”) over the Target
Facility. During this lawfully intercepted conversation, he told Associate 3 that
he had engaged in two prior “roll” fights with his dog “Cosmo.” Defendant
ANTHONY GAINES stated that in the first fight, “Cosmo” took bites “to the face,
at that point, it was too much for Cozzie (phonetic). That dog was fucked. That
dog could bite hard, man.” Defendant ANTHONY GAINES also stated during
this conversation that, in the second fight, he “rolled” “Cosmo” against his
“Redboy dog,” which, based on my review of the lawfully intercepted telephone
conversations in this investigation, refers to a dog called “Sampson.”

       63.  On or about October 26, 2015, defendant ANTHONY GAINES
received an incoming call from defendant PEDRO CUELLAR over the Target
Facility. During this lawfully intercepted conversation, defendant ANTHONY
GAINES explained that local animal cruelty officers had found the location
where he kept dogs on chains and left a warning letter alleging violations of
state animal cruelty laws, and that he needed to move the dogs before law
enforcement returned to that property. Defendant ANTHONY GAINES asked
defendant PEDRO CUELLAR if he would take dogs “Tommy” and “Sampson,”
and defendant PEDRO CUELLAR agreed to receive these two dogs.

       64.   On or about October 30, 2015, defendant TIFFANY BURT helped
transport “Tommy” and “Sampson” to defendant PEDRO CUELLAR by renting a
car in Vineland, New Jersey for defendant ANTHONY GAINES to transport these
dogs to Illinois, and added defendant ANTHONY GAINES as a driver for the
rented car.



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       65.   From on or about October 30, 2015 through on or about November
1, 2015, defendant FRANK NICHOLS drove with defendant ANTHONY GAINES,
in the car rented by defendant TIFFANY BURT, to in or around Chicago, Illinois,
to deliver “Tommy” and “Sampson” to defendant PEDRO CUELLAR.

      66.    On or about November 1, 2015, after having been informed on or
about October 26, 2015 by defendant ANTHONY GAINES that local animal
cruelty officers suspected violations of state animal cruelty laws pertaining to
defendant ANTHONY GAINES’s housing of fighting dogs, defendant PEDRO
CUELLAR met defendants FRANK NICHOLS and ANTHONY GAINES in or
around Chicago, Illinois, and received “Tommy” and “Sampson.”

       67.   On or about November 1, 2015, defendant PEDRO CUELLAR
delivered and sold two puppies from the “Pedro” and “White” bloodlines of
fighting dogs to defendant ANTHONY GAINES, in or around Chicago, Illinois.

      68.    On or about November 2, 2015, defendant ANTHONY GAINES
placed an outgoing call to an individual (“Associate 4”). During this lawfully
intercepted telephone conversation, defendant ANTHONY GAINES told Associate
4 that he dropped off “Sampson” and the “White Dog” and received two puppies
from defendant PEDRO CUELLAR.            Based on my review of the lawfully
intercepted telephone conversations in this investigation and from my
investigation of animal fighting activities generally, the “White Dog” refers to
“Tommy” and “White” refers to a particular bloodline of fighting dogs.

      69.   On or about November 15, 2015, defendant ANTHONY GAINES
received an incoming call from defendant DAJWAN WARE. During this lawfully
intercepted telephone conversation, defendant ANTHONY GAINES told
defendant DAJWAN WARE that he had traded “Tommy” to defendant PEDRO
CUELLAR for two puppies.




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